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 1                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA
 2

 3      CUSTOM HAIR DESIGNS BY SANDY, )           Case No. 8:17CV310
        LLC, on behalf of themselves )
 4      and all others similarly      )
        situated; and SKIP'S          )
 5      PRECISION WELDING, LLC, on    )
        behalf of themselves and all )
 6      others similarly situated,    )
                                      )
 7               Plaintiffs,         )
                                      )
 8      vs.                           )
                                      )
 9      CENTRAL PAYMENT CO., LLC,     )
                                      )           Lincoln, Nebraska
10               Defendant.           )           February 26, 2019

11

12
                              TRANSCRIPT OF PROCEEDINGS
13                      BEFORE THE HONORABLE CHERYL R. ZWART
                           UNITED STATES MAGISTRATE JUDGE
14

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 1                                A-P-P-E-A-R-A-N-C-E-S

 2      FOR THE PLAINTIFFS:                Ms. Melody R. Dickson
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 6      FOR THE DEFENDANT:                 Mr. Jonathan R. Chally
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 1            (At 12:01 p.m. on February 26, 2019; with counsel present

 2      by telephone:)

 3                  MR. HARTMAN:     Good afternoon.

 4                  THE COURT:     Good afternoon.     How are you?

 5                  MR. HARTMAN:     Ken Hartman, Judge.       How are you?

 6                  THE COURT:     I am grand.    And yourself?

 7                  MR. HARTMAN:     Doing all right.      The roads are getting

 8      a little better to get downtown so that's good.

 9                  MR. CHALLY:     Hi, everybody.     This is Jon Chally from

10      King and Spalding.

11                  THE COURT:     Hello, Jon.

12                  MR. HUDSON:     Hello, Judge.     How are you?

13                  THE COURT:     Good.

14            We are on the record in Case Number 8:17CV310.             This is

15      Custom Hair Designs by Sandy, LLC, and others versus Central

16      Payment Company, LLC.

17            Counsel, please enter your appearance beginning with

18      counsel for the plaintiff.

19                  MR. HUDSON:     Tyler Hudson and Melody Dickson for the

20      plaintiffs.

21                  MR. CHALLY:     Your Honor, you have Jon Chally and

22      Brandon Keel from King and Spalding for the defendant, and as

23      you know, we also have Ken Hartman also representing Central

24      Payment.

25                  THE COURT:     Okay.   And do we have any -- okay.          So
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 1      Skip's Precision Welding, LLC, who represents them?

 2                  MR. HUDSON:     Ty Hudson and Melody Dickson of Wagstaff

 3      and Cartmell.

 4                  THE COURT:     Okay.     So you represent both plaintiffs?

 5                  MR. HUDSON:     Yes, Your Honor.

 6                  THE COURT:     Okay.     I may have missed that when you

 7      entered your appearance to begin with.           All right.    And

 8      Mr. Hartman is not on; right?

 9                  MR. HARTMAN:     I am here, Your Honor.

10                  THE COURT:     Oh.     Hello, Mr. Hartman.    How are you

11      today?

12                  MR. HARTMAN:     I'm doing all right, Judge.

13                  THE COURT:     Okay, all right.     Now I'm getting my sea

14      legs back under me.       Let's hear what this dispute is about.

15                  MR. HUDSON:     Thanks, Judge.     This is again Ty Hudson

16      for the plaintiffs.       We have served document requests and are

17      seeking the transactional data or fee data for the charges that

18      CPAY has imposed on merchants.          So this case is a -- is a class

19      action in which the plaintiffs are merchants who are paying

20      fees to a merchant acquirer, a company that offers credit card

21      processing services; so they act as a middleman for -- to -- to

22      facilitate credit card transactions.

23                  THE COURT:     Okay.

24                  MR. HUDSON:     And so in this case what -- the case was

25      originally filed as a breach of contract case alleging that
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 1      there were particular fees that were being charged that were in

 2      excess of the contract rates.         So when merchants signed up with

 3      Central Payment, or CPAY is what it sometimes referred to

 4      itself as, they signed an agreement, a written agreement that

 5      lays out certain fees that the -- that CPAY is going to charge

 6      them, and our two plaintiffs are two merchants who had

 7      particular fees that they were charged that were not agreed to

 8      in the contract.

 9            We then went forward in the class certification phase of

10      the case and obtained some discovery, and once we obtained that

11      discovery, we filed an amended complaint, and we've now added

12      claims under RICO, the federal racketeering statute, and

13      fraudulent concealment under Nebraska law.           So the scope of the

14      case has expanded, and what we're asking for in the class

15      certification phase is the fee data going back to the inception

16      of the company.     So it's our understanding that CPAY has kept

17      data going back to March of 2006.         They've, for the most part,

18      produced all of the data from January of 2012 until the

19      present.

20            What we're asking for, Your Honor, is to go back to the

21      beginning of the company, and the reason that this information

22      is relevant is really twofold.         One, in this class

23      certification phase, what we're trying to analyze is the scope

24      of the case.     So for the RICO claims and the fraudulent

25      concealment claims, we're trying to figure out which -- what
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 1      fees were imposed on which merchants and then how did the

 2      company operate.

 3            One of the things that we've alleged -- and I'll give you

 4      one example.     There was a TSYS fee that was added, I believe,

 5      in 2012 -- two -- 20 -- sorry, 2014.          There was a fee, and one

 6      of the -- one of our contentions is, is that that fee was --

 7      was added not because CPAY had -- had any increased fees and

 8      instead it was just a fee that was -- that was created to

 9      extract excess profits from merchants.           In other words, it

10      wasn't a pass-through where Visa or Mastercard or one of the

11      credit card companies had increased their costs on CPAY.

12      Instead it was CPAY just creating a way to make more money at

13      the expense of merchants.

14            And so one of the things -- the reason why the fee data is

15      relevant is because if we go back in time, we can see how this

16      company operated and what fees were they adding or not adding

17      at various points in time that will give us an insight into how

18      they operate as a company.        In this case we're not -- we're not

19      necessarily saying that this is going to be data that's going

20      to be admissible at trial.        That would be putting the cart

21      before the horse.      All we're -- all we're saying is, is that

22      the data ought to be produced in the case so that we can see

23      the full scope of how the company operated.            I think even if we

24      didn't have the new RICO and fraudulent concealment claims in

25      the case, it would still be relevant for that reason.
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 1            I think it becomes a really easy decision on relevance

 2      when you have RICO and fraudulent concealment, because those

 3      are fraud-based claims where the discovery rule applies, and so

 4      potentially we need to see this data in order to determine the

 5      scope of our class and how far the claims go back in time.              So

 6      that's -- those are the reasons why we believe that the

 7      information is relevant to the claims currently in the case.

 8            On -- and then, as to the second step, proportionality, in

 9      this case really there's been no argument.           We really actually

10      tried to limit the information that goes back prior to 2012,

11      and all we're asking for for the class certification phase is

12      the fee data, which if the company, you know, was -- was

13      operating in a legitimate or correct way, this should be data

14      that's just sitting on a database there, and it just with a few

15      keystrokes ought to be able to be exported out and produced in

16      this case.    If it's more complicated than that, then that is --

17      in itself makes it relevant to the case, because it gives us

18      insight as to how the company was operating, and obviously,

19      with fraud claims in the case, we're trying to determine the --

20      how this company operated so...

21            And in terms of proportionality, while I know that the

22      defendant's submission said that it's not proportional to the

23      needs of the case, we've not -- they've not come forth with any

24      details on expense or time-consuming or anything else that

25      would cause it to be proportional.          Again, we think this
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 1      strikes the right balance at the class certification phase of

 2      allowing us to see the fee data, and that will give us insight

 3      into what the company charged and how they operated for

 4      purposes of making decisions on class certification, and it's

 5      information that really goes right to the heart of the claims

 6      in this case.

 7            If you have any further questions, I'm happy to answer

 8      them, but I think that's -- I think those are the -- the core

 9      reasons why we think this information should be produced.

10                  THE COURT:    All right.     Let's hear the response.

11                  MR. CHALLY:     Thank you, Your Honor.       This is Jon

12      Chally on behalf of the defendant.          Just one procedural

13      clarification.     Mr. Hudson is correct that they have amended

14      the complaint to assert some additional allegations,

15      specifically RICO and fraud -- fraudulent concealment claims.

16      Mr. Hudson failed to point out, however, that we have a motion

17      to dismiss pending as to those claims.           And while they are, I

18      suppose, in this case in the sense that they are in a pleading

19      that we have challenged as not sufficient to state the claim,

20      it is a far cry from them actually being in this case for

21      broader purposes, but I will say that that isn't alone the

22      reason why we have resisted this discovery.

23            We've resisted this discovery because despite what

24      Mr. Hudson is saying as to the scope of this case now, it's

25      completely inconsistent with what he has alleged to be the
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 1      scope of the case in the complaint.          If this case relates to

 2      the claims of two named plaintiffs who started interacting with

 3      Central Payment no earlier than 2015, that alone is the scope

 4      of this case for now.       Until the class is certified, we're

 5      focused on the named plaintiffs' claims; so that would justify

 6      taking discovery back only to 2015.

 7            Now, we have acknowledged that there is a class element to

 8      this case, and we have agreed to provide information that is

 9      important to evaluating class certification questions, but

10      we're not shooting in the dark as to the time period the

11      plaintiffs alleged for purposes of even the class.             The

12      plaintiffs themselves said in both the original complaint and

13      in the amended complaint that the applicable time period for

14      the class is that which reflects the applicable statute of

15      limitations.

16            The longest statute of limitations that is at issue in any

17      of their claims, whether the new ones or the original breached

18      contract, is five years.       And so what we have agreed to do is

19      produce to them data that shows all of this transaction level

20      data that they've asked for going all the way back to

21      January 1, 2012; so that covers every aspect of what they say

22      their class covers.      It covers every aspect of what they say

23      their plaintiffs cover.       It even covers the specific fee that

24      Mr. Hudson mentioned today, this fee that he says was created

25      in 2014.
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 1            If it was created in the way he's suggesting, the data

 2      he's already got is going to show where that data came -- or

 3      excuse me, where that fee came from and how it was applied from

 4      that point going forward.        So what they're really saying is

 5      they're trying to amended the complaint and allege some basis

 6      for tolling through a statement, a three-paragraph statement

 7      seeking additional discovery, and we just don't think that's

 8      proper, Your Honor.

 9            If they think they have a basis for alleging that the

10      statute of limitations was tolled and the discovery rule

11      applies so as to extend their case beyond what they have

12      currently pled in their complaint, they have to allege it, and

13      they have to allege it in a way that -- that satisfies the

14      requirements of Rule 8 and in this instance would satisfy the

15      requirements of Rule 9(b), and they have to get past the motion

16      to dismiss those allegations, which we expect that we would

17      file if they were to attempt to do that, and they've done none

18      of that.

19            Instead they're just saying I want -- I want all of the

20      transaction level data that goes back to the beginning of this

21      company even though they haven't even tried to plead a case

22      that would justify implicating all the information.              So what we

23      have said in resisting that discovery is, one, you have enough.

24      We have given you a significant amount of documents and

25      information in this case, and as to fee data, we have given you
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 1      everything we have been able to collect from January of 2012

 2      to -- I believe it's 2000 -- October of 2018.

 3            We've given them a significant amount of fee-related data,

 4      and what we've said I think has been fairly transparent is that

 5      isn't just a couple of keystrokes, that it is data.              I want to

 6      be clear about that.       It is not a hard document that someone

 7      has to go to an off-site storage to try to collect.              It is

 8      data, but it is a significant amount of data that requires, to

 9      our understanding, multiple days.          It's kind of an extraction

10      process.

11            So there is an expense, there is an effort that is

12      required to collect the additional data that they're seeking.

13      That is to be balanced against the value of that data in this

14      case, and the value of that data in this case is virtually

15      nothing, because they haven't even pled that they can pursue a

16      claim, whether on behalf of the plaintiffs or on behalf of the

17      class, that goes back as far as they're now suggesting.

18            So we think, to -- forgive me for using a term that I'm

19      sure you have heard all too often in the discovery context, but

20      we do think this is a fishing expedition.            There is no basis --

21      there is no pled basis for seeking this information.              If they

22      can allege a basis for it, they're free to do so.             They're free

23      to seek to amend the complaint further and allege that basis,

24      and if that is sufficient to meet the rules requirements, then

25      we have a different story.        But as of now we don't think
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 1      there's any basis to demand that we produce this additional

 2      data.

 3                  THE COURT:     Any rebuttal?

 4                  MR. HUDSON:     Yes, Your Honor.      Thanks.    So I guess

 5      two points.     One is we're -- it's a discovery dispute, and

 6      we're in the discovery phase of the case.            We're trying to

 7      figure out -- and in particular we're in the class

 8      certification phase.       We're trying to figure out what -- what

 9      class can be certified, and how do we figure out whether or not

10      we can assert damages using common evidence?            And one of the --

11      for -- and I'm just giving you an example.            Even if this was

12      just a breach of contract case, for example, one of our

13      allegations is, is that they've increased the fees over time

14      beyond the contractual rates.

15              Well, how do you figure out whether or not the fees got

16      increased?     You've got to look at the baseline.          And so in this

17      case the way that this company keeps their data is by

18      merchants, you know, month by month by month, and so over time

19      they're billing these merchants every month.            I mean, in order

20      to be able to go back and look at the data just -- just on the

21      breach of contract claim, this data would be highly relevant

22      just to look at the history of the fees that were being charged

23      for each merchant for -- for purposes of trying to figure out

24      when these increases were occurring, how they were occurring.

25              So just in that world, if we were just operating in that
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 1      world, this would be highly relevant data that would not

 2      involve a fishing expedition but instead would be, again,

 3      focused completely on trying to get our arms around how the

 4      company increased fees over time or added fees over time.                So

 5      even if -- even if they -- even if their argument were right on

 6      the statute of limitations, right on the scope of the case, and

 7      we were talking about just a breach of contract case going back

 8      five years to 2012, I would say that this would be highly

 9      relevant information again for just trying to figure out

10      damages methodologies, because we're limiting it just to the

11      data itself.

12              We're not asking for any, you know, work product beyond

13      that.    We're not asking for emails, we're not asking for -- for

14      anything else, just the data itself that should be housed in

15      databases within the company.         But moreover, you know, the case

16      has changed and it is expanded, and there is a fraud claim

17      and -- a fraudulent containment claim and there's a RICO claim

18      and those -- there -- we don't have to establish tolling.

19              The discovery rule applies, and that's what we made clear

20      in the complaint is, is that the case is as broad as the

21      applicable statute of limitations.          And so what -- what -- what

22      I hear opposing counsel saying is that because we've only got

23      two plaintiffs and their claims relate to 2015, then we don't

24      get any discovery broader than that and we don't get any

25      discovery on anything going back further in time on our fraud
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 1      claim or our RICO claim, especially again for purposes of class

 2      certification.      That doesn't make any sense.

 3              We've got to be able to figure out and see the evidence in

 4      order to define the scope of the case and figure out what's

 5      going on.     So I think that makes this an even -- an easier --

 6      an even easier decision because of the inclusion of those

 7      claims in the case.       That's -- we disagree that the longest

 8      statute of limitations goes back five years.            It comes -- it

 9      involves when the fraud was discovered.           And in the first

10      instance what we've got to analyze for purposes of figuring out

11      what our class is, is what fees did they charge going back in

12      time?    And if we don't have that, then we can't make any of

13      those assessments and determinations.

14              And that brings us to the proportionality point, and

15      that's the point is we've tried to make this very proportional

16      by zeroing in on the -- the absolute core information that we

17      would need in the class certification phase to make this

18      decision, and that's the data itself.           I mean, that's the --

19      that should be the least intrusive, the easiest to collect, and

20      the most insightful for the scope of this case and allow us and

21      our experts to analyze the information, to make informed

22      decisions on how to define the class and how to explain who the

23      class members are and what the common evidence is that exists

24      for purposes of class certification, and without the data we're

25      not going to be able to do that, and it would handicap our
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 1      ability to do it.

 2              We've -- we've kept it -- kept it narrow at this point in

 3      time, and so I think this -- in this situation in class

 4      certification, the data is the right balance, and we should be

 5      entitled to -- to receive it and review it.

 6                  THE COURT:     All right.     I don't hear that the

 7      defendants are saying that the data isn't the right thing to

 8      ask for.    I hear what they're saying is the scope is

 9      inappropriate because it goes all the way back to the inception

10      of the company, and they believe that giving you the data from

11      January 1st of 2012 through when they responded to it, which

12      was late in 2018 -- I didn't write down the exact date, but

13      that that is the data that you need.           So on that grounds I'm --

14      I'm not buying your argument that they're somehow objecting to

15      giving you data.      They're just objecting to the time frame.

16              Am I right on the defendant's side?

17                  MR. CHALLY:     Yes, Your Honor, you're exactly right.

18      I would add just very briefly that we're not fighting over

19      data.    That data has been produced.        We are fighting over the

20      time period, as you suggested.          I would say that Mr. Hudson's

21      suggestion that the data is somehow the key to understanding

22      the claim is a misapprehension of this case.            This case is

23      the -- the merchants, the members of the class, agreed to a

24      contract that Mr. Hudson believes based in certain fees, and

25      then Mr. Hudson contends that the defendant has charged certain
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 1      different fees over time.

 2                  THE COURT:     Uh-huh.

 3                  MR. CHALLY:     Well, putting aside the fact that the

 4      merchants, the plaintiffs here, actually saw those fees as they

 5      were charged over time, the -- the two relevant data points

 6      there are the initial agreement and then the transactions level

 7      data that they can assert a claim on considering the applicable

 8      statute of limitations.        You do not get to review transaction

 9      level data from prior to the scope of the statute of

10      limitations just to sort of see whether it's consistent with

11      what you had previously agreed to.

12            The claim here is application says certain fees, and then

13      from whatever time the law allows the plaintiffs to assert the

14      claim, were those fees consistent with what the plaintiff

15      believes it agreed to?       So you don't need the transaction level

16      data to address the question Mr. Hudson is focused on.               But to

17      address your specific question, we aren't disputing whether or

18      not fee data can be discovered here.           It can be.    It has been.

19      We're talking about whether we need to produce an additional

20      seven years' worth of data.

21                  THE COURT:     Okay.     I'm looking at the amended

22      complaint, and it's filing number 49, and it is correct it is

23      subject to a motion to dismiss at this point in time.              Since it

24      is subject to a motion to dismiss, while it is out there as the

25      pleading, it is not necessarily the operative pleading right
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 1      now, because it may well be that Judge Bataillon finds that

 2      there is no claim for RICO.         It is very difficult to allege a

 3      civil RICO claim.      It may also be that he finds there is no

 4      claim for fraud.

 5            And more importantly, as to the class issue, looking at

 6      the class allegation, which is in paragraph 212, which is on

 7      page 53, it's "All customers in the United States that paid a

 8      fee to Defendant that is higher than those set forth in the

 9      Merchant Processing Application & Agreement."             It seems like

10      the data points as defendant argues are:           What does the

11      agreement permit, and what did you charge?

12            And going back, if it -- if this is a fraud case or a RICO

13      case, even if we would to -- were to do that, I believe the

14      statute of limitations would be four years.            Going back on a

15      contract claim, it would be five years, and going back five

16      years before the case was filed would be August 17th of 2012.

17      They're giving you data for the seven months even before that,

18      and it strikes me that you can compare that data to the

19      Merchant Processing Application & Agreement that is at issue

20      and decide where -- whether anything has been overly charged or

21      charges have been imposed that were not part of that agreement.

22            I'm not understanding why it makes a difference if

23      somebody prior to August 17th of 2012 had a better agreement,

24      had a different agreement, or that the company changed its

25      agreement over time.
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 1              I'm not understanding that argument by the plaintiff so

 2      I'll give you one more crack at it, but for right now you've

 3      got to explain that to me before I'm going to grant your

 4      motion.

 5                  MR. HUDSON:     Thanks, Judge.      I appreciate that.

 6      Yeah.     I think, well, a couple things.        One, in terms of the

 7      scope of the case, I guess it's extremely important to us to

 8      understand where we are and what -- what -- what claims are in

 9      the case or not in the case for purposes of class

10      certification, because we've got deadlines coming up in a

11      couple months, and our assumption was -- was that because we

12      filed claims that include -- you know, in other words, we filed

13      a complaint, an amended complaint that includes claims for

14      RICO, fraudulent concealment, breach of contract.

15              So we're under the assumption that we're moving forward

16      and need to, in about two months, create expert reports; and

17      then I believe it's in April, April 4th, file a class

18      certification motion that would include certifying classes on

19      all three points.      So that's -- that's kind of -- I guess is --

20      is an aside, but I think it's important on those claims.

21              I think in terms of your -- you're absolutely right, Your

22      Honor.     The dispute is not about whether or not we get the

23      data.     It's the scope of how much data we get.          And Mr. Chally

24      explained it as we need to just look at the initial agreements,

25      and then we need to look at the transactional level data during
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 1      the pertinent time period for when the breach of contract --

 2      you know, the breach of contract statute of limitations would

 3      exist.     Even that, though, Judge, we don't have the initial

 4      agreements.     They haven't produced all of the initial

 5      agreements for the merchants in the class.            There's like 40,000

 6      merchants in this class, and that's why --

 7                  THE COURT:     Well, pause, pause.       Are you -- you have

 8      your own clients' agreements; right?

 9                  MR. HUDSON:     Yes, we do.

10                  THE COURT:     Are you saying that the 40,000 merchants

11      that you purport to represent may all have different contracts?

12      And how -- if that is true, how in the world could this ever be

13      a class?

14                  MR. HUDSON:     Well, Your Honor, that's why -- that's

15      what -- that's why we're trying to take discovery during the

16      class certification phase to try to figure out these issues.

17            No, we would say no, we don't believe that the -- that the

18      merchants all have different contracts with different terms.

19      We think what's critically important is to look at the

20      transactional data, and this is why the most efficient way to

21      analyze this issue is to look at the data, because each time a

22      merchant signs an agreement, the company has policies and

23      procedures, and the practice of what they're supposed to do is

24      then go and input that information on the fees that are to be

25      then charged on a merchant-by-merchant basis into a database,
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 1      and that's what we're asking for is, is if they will produce

 2      the data going back in time.

 3            I mean, for example, if a merchant joined the company in

 4      March of 2006 at its inception and went forward in time, if

 5      they will produce the data, then we'll be able to see here's

 6      the baseline which is where this customer then was inserted

 7      into their database.       And then for purposes of analyzing their

 8      damages, then you can take that baseline and look and see where

 9      there were increases that are inconsistent with the contract.

10      But that's why -- that's why it's our contention that the core

11      of this dispute, even if we're talking about just a breach of

12      contract case, is the data itself's not the critical component.

13      It's we've got to be able to see a baseline.

14            And that's, Your Honor -- I mean, that's the issue is

15      our -- our experts can -- can testify or, you know, issue

16      reports on what they see from our two class representatives

17      from the way that their agreements are set up and the data and

18      the information, but to say -- but to say anything larger about

19      the class and make statements about the class, we've got to see

20      how the company kept the data and be able to go and analyze

21      that, because that's what we need.

22            To get the class certified, as you know, Your Honor, is

23      we've got to be able to point to common evidence to support our

24      claims, and so that's why this data provides us what we need

25      and gives our experts the foundation to go and analyze those
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 1      issues and determine the scope of the case and -- and what's

 2      pertinent to the claims.

 3            And I think -- you know, and I know I -- I'm hearing loud

 4      and clear what you're saying about RICO claims and fraudulent

 5      concealment, but, I mean, on those two claims in particular,

 6      the discovery rule would apply, and so I think those would

 7      definitely expand the scope of the case, and if we're expected

 8      to go and file class certification motions and attempt to

 9      certify those claims on a classwide basis at the April 4th

10      deadline -- I'm sorry.       If our experts are supposed to be

11      drafting reports that are providing the foundation and that's

12      all to be done by April 4th, we need the data in order to go

13      and do that and go forward with that so --

14                  THE COURT:     I'm not --

15                  MR. HUDSON:     And --

16                  THE COURT:     I'm not understanding that.        It seems to

17      me that your class is going to be limited to the people whose

18      claims aren't barred by the statute of limitations.              As of

19      right now you've got more data than -- than is included within

20      the statute of limitations.          You've got a contract for each of

21      the people you hope to represent, and if you don't have that

22      contract, then -- then that's a whole different thing, but

23      that's not what you're asking for today.           You're asking for

24      today all of the data to see how your -- the clients that you

25      currently represent, which are the only -- only the two named
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 1      plaintiffs, you're asking for all of the data for everybody

 2      they've ever done anything for since the inception of the

 3      company, and I don't -- I don't see how anything that is beyond

 4      the statute of limitations is relevant.           Even as to figuring

 5      out who's going to be in the class and whether the people that

 6      are in the class were somehow overcharged, I -- I don't see it

 7      so --

 8                  MR. HUDSON:     Judge, how do we establish the baseline,

 9      then?    For example, even if we were restricted to a breach of

10      contract claim, how do we establish the baseline to figure out

11      whether or not the other class members were overcharged

12      compared to -- to what was initially agreed to in the

13      agreement?

14              I mean, in other words, if you're saying for purposes of

15      class certification we can take our two named plaintiffs, look

16      at their representative examples, and then say we can do the

17      same thing and make the same analysis on the merits for the

18      entire class and not going to be --

19                  THE COURT:     I'm saying -- I'm saying this is all

20      governed by a contract.        Look and see whether they were charged

21      more than they were supposed to under the contract and -- and

22      that doesn't -- we're not looking at company trends.              We're

23      looking at a contract.       And I don't understand why you need to

24      see what they charged in 2006 to know whether they violated a

25      contract in 2012.      I don't get that.
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 1                  MR. HUDSON:     Well, for one reason, because one of the

 2      allegations is, is that they were making increases in rates

 3      over time, systematically increasing the rates, and so when you

 4      look at the fee data going back in time, you -- you can see the

 5      baseline.     I mean, in other words, is the expert -- our

 6      experts -- and again, maybe I'm misunderstanding in the

 7      District of Nebraska the scope of what we need to do for

 8      purposes of filing class certification motions but --

 9                  THE COURT:     Well, we follow the Federal Rules like

10      everybody else does so I mean -- so you're not

11      misunderstanding.      I -- what I'm saying is you can't -- I don't

12      understand, given that if your claim is and your class is that

13      the customers were charged -- that they paid a fee to defendant

14      that is higher than those set forth in the Merchant Processing

15      Application & Agreement, which is how you define the class in

16      paragraph 212 on page 53 of the current amended complaint, I

17      don't understand how you need a baseline of what was charged in

18      2006 to know whether they were charged beyond what the

19      agreement allowed them to be charged in 2012.

20                  MR. HUDSON:     And, Your Honor, that may be my fault.

21      I apologize.     I probably am not explaining well.          What I'm

22      trying to get at is the -- the data -- what I mean by the

23      baseline is the initial input into the computer will be the

24      contractual rate.      In other words, under their policies and

25      procedures, they will be inputting into their database the
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 1      contract rate initially so -- so instead of having to go and

 2      look through 40,000 different agreements and determine what the

 3      information is, the transactional data itself that first month

 4      that it gets input -- you know, CPAY has policies and

 5      procedures that says, you know, step one, the company goes and

 6      reaches a written agreement with a merchant.

 7            Then step two is then you take that information, and

 8      there's an uploading process into their database.             So it's --

 9      it's -- that initial data should be what is consistent with the

10      contract, and what we're saying is then over time -- so that's

11      month one.     This baseline gets set in their database which

12      is -- which should be consistent with what's in the contract,

13      but then what we see over time is that there are increases in

14      those fees that are inconsistent with what's -- what's in the

15      contract, and you can see that in the fee data.

16            So -- so if we're talking about just our contract claim,

17      which I agree, Your Honor, it's a closer call for the contract

18      claim than it would be for the RICO claim or the fraudulent

19      concealment claim, but I think the reason why it's relevant is

20      because the data itself allows you to see -- that first month

21      allows you to see what should be the contractual rate in that

22      database.

23                  MR. CHALLY:     Your Honor, if I can just very briefly

24      address that final point.

25                  THE COURT:     Sure, uh-huh.
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 1                  MR. CHALLY:     Thank you.     Two issues with respect to

 2      that.    The first is Mr. Hudson is suggesting and is reading

 3      policies and procedures that as -- as you -- we would all

 4      imagine require some sort of a data entry analyst to include in

 5      the system the contractually agreed fees and charges.              That's

 6      true, but he's reading that to assume that that entry is

 7      archived and maintained for an extended period of time.                  And

 8      while we are checking on that, I am not currently aware that

 9      that is accessible, that the initial entry is actually

10      archived.

11              But it really doesn't matter whether it is or not, because

12      if it is, that's information that we would expect we would be

13      able to collect and produce.         We're not fighting over whether

14      we would produce even that information.           What we are fighting

15      over is whether that information has to go back to 2005.

16              So if Mr. Hudson's theory on how this data is archived is

17      correct and consistent with what we understand and that it is

18      accessible in a way similar to the rest of the fee data is

19      accessible, something that we don't know just yet, if it is,

20      they will have it for the time period that is applicable based

21      on the plaintiffs' claims, the plaintiffs' individual claims,

22      and the class that's pled in the complaint.            So that does not

23      answer -- it doesn't even begin to answer the question of

24      whether we should be producing this additional seven years'

25      worth of data.
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 1                  THE COURT:     I think what he's saying is he needs that

 2      additional seven years' worth of data to figure out what the

 3      contract was at the outset.         Can you address that on the

 4      defendant's side?

 5                  MR. CHALLY:     Yeah.    We certainly do believe, Your

 6      Honor, that the best evidence in that contract is the contract

 7      itself.

 8                  THE COURT:     Right.

 9                  MR. CHALLY:     And that is exactly what the defendant

10      should be after and what the plaintiffs should be after, that

11      rather than what a data analyst input, the best evidence of the

12      contract is the contract, and so we would need to be looking at

13      the contract itself.       I think that that -- that cannot -- no

14      other proxy for it.       Whether you're talking about what a data

15      entry analyst said or what one of the plaintiffs orally

16      articulated to someone else as the appropriate numbers that

17      they agreed to, neither of those things can change the terms of

18      the contract.

19            The contract is what it is, and you have to look at the

20      contract to evaluate what the contract obligated CPAY to do

21      with respect to -- to the plaintiffs.           So I don't think that

22      any other evidence, assuming it exists -- and that's a big

23      assumption at this point -- I don't think any other evidence

24      can substitute for the terms of the contract itself.

25                  THE COURT:     Okay.    And are you saying on the
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 1      defendant's side that you're looking for those contracts that

 2      they're -- that -- have they been asked for?

 3                  MR. CHALLY:     We have produced what the plaintiffs

 4      have asked for in terms of the contracts.

 5                  THE COURT:     Okay.

 6                  MR. CHALLY:     As I sit here today, I don't recall

 7      whether they had a sweeping request for every contract of every

 8      merchant from the -- from the time period applicable in this

 9      case, but we have produced every contract that has been asked

10      for.

11                  THE COURT:     All right.     Under the circumstances as

12      discussed, I'm inclined to agree with the defendants [sic] on

13      this.     I don't believe that going beyond what they've already

14      provided you is relevant in this situation, and it is

15      disproportionate, because by the time they go all the way back

16      into 2006 and into all of these archives and such, there may

17      well be -- they may well be providing you with information

18      that -- for clients that don't even exist anymore so...

19              So that's my ruling.       I'll upload the audio on this.        You

20      can appeal from it if you wish to by citing to the audio

21      itself.

22              Anything else that we need to take up at this time?

23                  MR. HUDSON:     Yes, Judge.     This is Ty Hudson again for

24      the plaintiffs.      We would like to get just some guidance from

25      you, I guess, in terms of our schedules.           And it is my
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 1      understanding -- and again, I may be under a misapprehension,

 2      but that we're in the class certification phase and that we

 3      would be expected to be -- to be filing or serving expert

 4      reports and then filing a class certification brief in a few

 5      months relating to all three claims in the case.

 6            Also, in connection with that, I guess what we were

 7      looking for is just we were -- we were going to take the

 8      depositions of a class representative and then also maybe one

 9      or two fact witness depositions, and I was just concerned --

10      different districts do it different ways -- in terms of our

11      ability to take the deposition of the same witness more than

12      one time.

13            So I guess just in terms of the scope of the case, we were

14      hoping to get some guidance on that to make sure that we were

15      doing things as efficiently as possible and consistent with the

16      Court's expectations.

17                  THE COURT:     Well, whether a class is certified or

18      not, you have a plaintiff; right?

19                  MR. HUDSON:     Yes.

20                  THE COURT:     So why would we limit the plaintiffs'

21      depositions to just class certification questions when, with or

22      without a class, the plaintiff is or is not going to go

23      forward?

24                  MR. HUDSON:     Yeah.    That's a great point, and I don't

25      think we've been on our side suggesting that we would limit the
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 1      depositions of our plaintiffs.         I guess I was more focused on

 2      taking the depositions of the defendants [sic], you know, in

 3      other words, their class representative and then a couple of

 4      their key fact witnesses who are involved in running the

 5      company.

 6                  THE COURT:     I don't know if the defendants [sic] have

 7      class representatives.

 8                  MR. CHALLY:     Yes, Your Honor.      It might be helpful if

 9      I explained this just a little bit.

10                  THE COURT:     Okay.

11                  MR. CHALLY:     I think Mr. Hudson is referring to

12      corporate representatives --

13                  THE COURT:     Oh, okay.

14                  MR. CHALLY:     -- and in that context we certainly do.

15      This issue arose because the plaintiffs issued a 30(b)(6)

16      notice that sought corporate representative testimony of our

17      client, and the notice itself was, you know, as you would

18      expect in an instance -- in a case like this, fairly broad and

19      covered topics that we thought were related to both call them

20      class issues and merits issues.

21            And to properly respond to that, we identified a witness

22      who the document production that has been conducted in this

23      case reveals to be -- reveals to have knowledge that sort of

24      spanned the wide aspect of the claims here, and so we indicated

25      to plaintiffs' counsel that we are happy to present this
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 1      particular individual as a corporate representative, we would

 2      request that you, you know, make an effort to take his

 3      deposition in that capacity, but also in the -- in his capacity

 4      as a fact witness individually based on his personal knowledge,

 5      and that we try to consolidate that so that we only take his

 6      deposition one time.

 7            And -- and the -- what we heard in response -- and

 8      Mr. Hudson can certainly address this, but what we heard in

 9      response was we believe that the case is now narrowly focused

10      on class certification issues; so what we intend to do is ask

11      only those questions of this witness that are applicable to our

12      motion for class certification and then reserve the ability to

13      come back to this witness after the resolution of the motion

14      for class certification and take his deposition again.

15                  THE COURT:     Yeah.

16                  MR. CHALLY:     And -- and --

17                  THE COURT:     That --

18                  MR. CHALLY:     -- we indicated that that was -- we

19      objected to that, and so I believe that's the clarity he is

20      driving at.

21                  THE COURT:     Yeah.     And that may be how they do it in

22      different districts, but in our district what -- you take the

23      deposition of a person once you're going to use them.              You take

24      it on all issues that you can at one time.            Obviously, a person

25      who is sitting as a 30(b)(6) representative is, for all
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 1      practical purposes, the company at that point in time, which is

 2      different than being an individual.          That's up to the parties

 3      as to whether they want the -- that witness to sit once or

 4      twice, because they are truly testifying in two separate

 5      capacities.

 6            But as I said before, I think the same principle applies.

 7      There are two plaintiffs in this case whether a class is

 8      certified or not, and as to the discovery as to those two

 9      plaintiffs, let's get it done along with whatever you need to

10      get done to determine whether you're going to request class

11      certification.

12            All right?     Does that answer your question?

13                  MR. HUDSON:     Yeah.    I mean, that -- that is helpful.

14      I mean, I guess, for purposes of class certification, are we --

15      are we -- we have a first amended complaint that includes

16      claims for breach of contract, RICO, and fraudulent

17      concealment.     Judge Bataillon hasn't ruled on the motion to

18      dismiss the RICO or fraudulent concealment claims, and so, I

19      mean, my assumption was we would go ahead and move forward with

20      class certification on all three claims pending the outcome of

21      his decision.

22            Should we -- should we think about, you know, extending

23      the schedule to wait for him to rule before we file class

24      certification briefing?

25                  THE COURT:     Well, what is the difference in the scope
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 1      of your questioning?

 2                  MR. HUDSON:     That gets back to what we were talking

 3      about earlier today.       I mean, in terms of -- a RICO claim and

 4      fraudulent concealment are -- are pretty different than a

 5      breach of contract in terms of just -- you know, I mean, in

 6      other words, RICO would involve a scheme to defraud that

 7      involves an enterprise and just, you know, a significantly

 8      different level of analysis in terms of -- of how you would --

 9      how you would walk through the common evidence to prove each

10      one of the elements of those claims.

11                  THE COURT:     Okay.    So just a minute.

12            I'm checking progression schedules here so hang on.                I'm

13      still with you.      I'm just checking.

14            You amend them so many times on these kind of cases that

15      after a while it's hard to find our own orders.

16                  MR. HUDSON:     Yeah.    It's docket number 58, Judge, on

17      December 26th.

18                  THE COURT:     Well, that's the current one.         What was

19      the original one?      'Cause we have an amended one, and I'm not

20      seeing the original one so...hold on a second.

21                  MR. CHALLY:     Your Honor, I was looking for that.           I

22      think it may actually be reflected in our planning report.                Let

23      me -- let me pull it up.

24                  THE COURT:     Okay.    So maybe we didn't put out one

25      that had...
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 1                  MR. CHALLY:     Yeah.    It is in the original planning

 2      report, which is docket number 19.

 3                  THE COURT:     Got it.

 4              Well, you know, I don't like moving all of these deadlines

 5      down the road.      I'm going to ask a real simple question.             Why

 6      did you wait so long to try to add RICO claims and concealment

 7      claims in this case?

 8                  MR. HUDSON:     Because we didn't get the documents.           It

 9      took a long time to get documents produced, and then we

10      reviewed them, and then we found the evidence, and then as soon

11      as we found the evidence, we went and filed an amended

12      complaint that added, you know, 20 pages of factual allegations

13      relating to what we found, because obviously fraud requires

14      intent and planning and things, and so we didn't have the

15      evidence to originally allege that, but once we found it in

16      discovery, we quickly amended.

17                  THE COURT:     Okay, all right.      So we've got -- on the

18      motion to dismiss, that was fully submitted, if you go with the

19      reply, January 30th.       And then there's a motion to strike

20      improper evidence, and there's a response to that.

21              So even at the outside, it's fully submitted as of

22      February 11th.      So we'd be looking at, crossing our fingers,

23      for April 11th time frame of getting a ruling on the RICO issue

24      and the fraudulent concealment claims.           What is our current --

25      okay.    Going back to number 58.
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 1              If I move those deadlines for the expert reports and the

 2      disclosures and the deposition dead- -- well, the deposition

 3      deadline isn't until June 10th.         You should have a ruling by

 4      then.     I don't know that there's a reason to move that deadline

 5      for sure.     You might want me to move the deadline for

 6      identifying expert witnesses and for expert witness

 7      disclosures, because the expert witness disclosures are

 8      April 4th and May 5th, but what deadlines is the plaintiff

 9      proposing that I move while you await a ruling on the RICO and

10      the fraud claims?

11                  MR. HUDSON:     Those rulings.      What you just said, the

12      experts.     The expert reports and the class certification

13      briefs.

14                  THE COURT:     Okay.   What is the defendant's response

15      to that?

16                  MR. CHALLY:     Your Honor, we -- I don't have any issue

17      with the -- with moving the deadlines for identifying experts

18      and providing expert disclosures or reports.            I do have some

19      concern over moving the briefing deadlines for class

20      certification.      And I want to be clear that while we -- we do

21      have a dispute over the time period for the fee data that you

22      have addressed and resolved, we are not refusing to produce

23      documents or refusing to present witnesses to address those

24      contentions that go to the RICO or fraud-based claims; so it's

25      unclear to us how this current schedule is tying the
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 1      plaintiffs' hands behind their back.

 2              I take your point that they may want to know, and as do

 3      we, whether these claims are actually in the case or dismissed

 4      before they file a motion for class certification, but they're

 5      likely to have that, seeing as how their deadline is June 15th.

 6      If they'd like some additional time to make sure their experts

 7      are addressing those claims, I don't have an objection to that.

 8      I would think that they can do that, meaning their experts can

 9      address these aspects of these claims now with the document

10      data that they have and don't see a need for a further delay.

11              Just to be honest, Your Honor, we just think this case

12      kind of needs to move forward and that the motion for class

13      certification should -- the deadlines for the briefing on the

14      motion for class certifications should remain as they are.

15                  THE COURT:     Okay.   So the questions on a class

16      certification are commonality, typicality, numerosity, and

17      adequacy of representation.

18              Why do you need to know whether the fraud claims and the

19      RICO claims are going to go forward to determine those four

20      elements of class certification?

21                  MR. HUDSON:     Well, Judge, it impacts the scope of the

22      case.    I mean, for example, Mr. Chally, his primary argument

23      earlier today on this call was that the RICO claims and the

24      fraudulent concealment claims aren't in the case, and so all we

25      need to do to figure out whether or not we can get the class
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 1      certified is compare the initial agreement to the transaction

 2      level data, and so now it feels like he's now -- he's now

 3      saying we don't want to -- we don't want to wait on class

 4      certification.      Everything moves forward.

 5            We're fine with that, but then I think we're entitled to

 6      this transaction level data to be able to analyze what this

 7      company did over time, because the RICO claim and the

 8      fraudulent concealment claims, what we're saying is, you know,

 9      if you read the complaint, we included a lot of details related

10      to emails and other evidence that strongly suggests that this

11      company was going and adding fees, increasing fees, and -- and

12      scheming to extract excess profits from these merchants.

13            And so this fee data, for example, is really lying at the

14      heart of what we're going to need for the -- so -- so, for

15      example, commonality, and I guess I would also point to under a

16      (b)(3) class, which is what we'd be moving for, really

17      predominance is where the fight often is between the plaintiffs

18      and defendants, and so are these individualized issues, or can

19      we use classwide data to prove our claims?

20            At the core of that is being able to look at the company's

21      transaction level data and what we argued about earlier and be

22      able to say, look, Judge, here's the data that they have, and

23      go and let our experts analyze that data and be able to say,

24      yes, we can use the company's own data, analyze it over time,

25      and be able to show that they were extracting profits and
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 1      adding fees and increasing fees inappropriately and contrary to

 2      what was agreed to.

 3            And I'd be happy to brief that or show you other cases --

 4                  THE COURT:     No.

 5                  MR. HUDSON:     -- or whatever we need to do to show you

 6      that --

 7                  THE COURT:     I am still -- I am still convinced that

 8      the -- that the issue isn't -- but it really comes down to it

 9      isn't the trends in how they were charging fees.             It's what did

10      they -- did they charge something they didn't agree to?                  I

11      mean, I'm -- and it seems like the agreements are going to

12      govern whether people were overcharged, and if you agreed to

13      pay an exorbitant fee, I don't know what the Court is supposed

14      to do about that.

15            And I suppose that gets into your thing about, well, was

16      there some sort of concealment about how this was going to be

17      applied or whatever and so I -- I'm not going to go there, and

18      I'm not getting -- and just to be -- just kind of gives you

19      sort of a little taste of this, if -- and this is repeating

20      what I said before, but if all of these merchants have these

21      different agreements and they're all, you know, arm's length

22      agreements that they negotiated at some point in time, or if

23      there were certain types of agreements that were given to

24      certain types of merchants that had certain types of things, or

25      if some agreements were -- were the 2010 version and others
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                                                                                       38

 1      received the 2012 version because that's when they first came

 2      on board, all of that is going to be something I care about

 3      when I look at the motion for class certification, because then

 4      you start looking at the commonality and typicality issues, and

 5      it'll all come back to whether or not this -- these -- well,

 6      first of all, whether there is commonality and typicality, and

 7      secondly, whether the named plaintiffs can represent all or a

 8      portion of this global class or U.S. class that you're trying

 9      to represent.     So just kind of keep that in mind as you go

10      forward.

11            But in light of your request for additional time, I'm

12      going to give you some additional time.           I'm going to give you

13      till May 15th to disclose the reports from your experts.                 I'm

14      taking out the identification deadline.           We're just going to go

15      with reports are due by May 15th, June 15th from the defendant,

16      and the class certification motion needs to be filed by

17      July 30th with the briefing schedule under the rules, and the

18      deposition deadline will be on July 15th, and I'll put that out

19      in an order.

20            Anything else I can take up for you today?

21                  MR. CHALLY:     Your Honor, I apologize for not knowing

22      this off the top of my head, but I would ask that our response

23      to the motion for class certification be due 30 days after the

24      plaintiffs file their motion like the current --

25                  THE COURT:     Okay.
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                                                                                 39

 1                  MR. CHALLY:     -- progression schedule.

 2                  THE COURT:     Okay.

 3                  MR. CHALLY:     I believe that's a minor modification

 4      from the local rules.

 5                  THE COURT:     Yeah, that is a modification so...

 6              Okay.   We'll go with August 30th.

 7                  MR. HUDSON:     And then, Your Honor, if we could get 15

 8      days in reply too.

 9                  THE COURT:     Yeah.

10                  MR. HUDSON:     Great.

11                  THE COURT:     Okay.     So we'll put out an order

12      consistent with that.       Is there anything else we can take up?

13                  MR. HUDSON:     Not from the plaintiffs, Your Honor.

14                  MR. CHALLY:     Nor from the defendant.        Thank you very

15      much.

16                  THE COURT:     All right.     Have a great day, and arise,

17      go forth, and litigate.

18                  MR. CHALLY:     Thank you.

19                  THE COURT:     Bye.

20              (1 p.m.-- Adjourned.)

21                                    * * * * * * * *

22           I, Lisa G. Grimminger, certify that the foregoing is a
        correct transcription to the best of my ability from the
23      digital recording of the proceedings held in the above-entitled
        matter.
24

25                  /s/Lisa G. Grimminger                      _________________
                    Lisa G. Grimminger, RDR, CRR, CRC          Date
